      Case 1:22-cv-01673-TMD           Document 113        Filed 02/20/25     Page 1 of 1




           In the United States Court of Federal Claims
                                          No. 22-1673
                                   (Filed: February 20, 2025)

 **************************************
 GEORGE DUNBAR PREWITT, JR.,          *
                                      *
                   Plaintiff,         *
                                      *
          v.                          *
                                      *
 THE UNITED STATES,                   *
                                      *
                   Defendant.         *
 **************************************

                                            ORDER

          On February 19, 2025, the Clerk of Court received a document from George D. Prewitt,
Jr., titled “Motion for Stay and/or Injunction Pending Appeal.” The document was not filed on
the docket because it did not comply with Rule 5.5(g) of the Rules of the United States Court of
Federal Claims, which requires that “the name of the judge assigned to the case . . . be included
directly below the docket number” in all filings. Despite this deficiency, this document SHALL
BE FILED BY LEAVE OF THE JUDGE. The Clerk is instructed to file the document and to
title it, “Motion for Stay and/or Injunction Pending Appeal.”

       IT IS SO ORDERED.

                                                 s/ Thompson M. Dietz
                                                 THOMPSON M. DIETZ, Judge
